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 5 Attorneys for
     JESUS VALENCIA ONTIVEROS
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,      )              No. CR 07-0088-FCD
                                  )
11                Plaintiff,      )
                                  )
12                                )              STIPULATION AND ORDER
        v.                        )              CONTINUING THE DATE FOR
13                                )              SENTENCING FROM AUGUST 11,
   JESUS VALENCIA ONTIVEROS )                    2008 TO AUGUST 25, 2008 AND
14                                )              MODIFYING THE SCHEDULE
                                  )              FOR THE PRE-SENTENCE REPORT
15                                )
                  Defendant.      )
16 _______________________________)
17
18        The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce
19 Locke, and the United States, by and through its attorney, Philip Ferrari, hereby
20 stipulate that the Judgement and Sentencing currently set for August 11, 2008 shall be
21 continued to August 25, 2008 at 10:00 a.m., and the parties further stipulate that
22 counsel’s informal objections to the Pre-Sentence Report shall be delivered to the
23 Probation Officer and opposing counsel by August 4, 2008, that the Pre-Sentence
24 Report shall be filed with the Court and disclosed to counsel no later than August 11,
25 2008 and that the Motion for Correction of the Pre-Sentence Report shall be filed with
26 the Court and served on the Probation Officer and opposing counsel no later than
27 August 18, 2008. Mr. Ferrari has authorized undersigned counsel to sign his name to
28 this Stipulation and Order.
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                                             1
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                                        Respectfully submitted,
 1
 2
     DATED: July 23, 2008                     /S/
 3                                      BRUCE LOCKE
                                        Attorney for Jesus Valencia Ontiveros
 4
 5
     DATED: July 23, 2008                    /S/
 6                                      PHILIP FERRARI
                                        Attorney for the United States
 7
 8
     IT IS SO ORDERED:
 9
10 DATED: July 23, 2008
                                      _______________________________________
11                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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